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                           DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
                      v.                       )       Case No. 3:20-cr-0019
                                               )
JOSE RAMON PIMENTEL-RIVERA, JERRY              )
KIRKLAND-MARRERO, and KALIHEL                  )
RAMOS DE JESUS,                                )
                                               )
                      Defendants.              )
                                               )


                                           ORDER
       THIS MATTER comes before the Court on Notices of Suggestion of Death filed by

counsel for Defendants Khalil Ramos de Jesus and Jose Ramos Pimentel-Rivera, respectively.

(ECF Nos. 49 and 50). The United States (the “Government”) filed a response indicating that

it has received information that the above-named Defendants were fatally shot on October

14, 2020, but it has yet to receive death certificates confirming the same. (ECF No. 51). The

Government further states that it has no objection to the charges filed against those

defendants being dismissed without prejudice while the Government obtains the death

certificates. Accordingly, after careful consideration and review, it is hereby

       ORDERED that if the Government intends to dismiss the charges in these cases, the

Government shall file the appropriate motion within five (5) days of the date of this Order.



Dated: October 20, 2020                            /s/ Robert A. Molloy
                                                   ROBERT A. MOLLOY
                                                   District Judge
